         Case 2:05-cr-20044-RTD                        Document 25               Filed 01/10/06            Page 1 of 3 PageID #: 43
OAO 245E       (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
               Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                                      District of
          UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                               V.                                               (For Organizational Defendants)

    WHITE DAIRY ICE CREAM, INC. d/b/a                                           CASE NUMBER:                        2:05CR20082-001
         TRI-TEMP DISTRIBUTION
                                                                                Don A. Smith
                                                                                Defendant Organization’s Attorney
THE DEFENDANT ORGANIZATION:
X pleaded guilty to count(s) One (1) of an Information on November 28, 2005
G pleaded nolo contendere to count(s)
     which was accepted by the court.
G was found guilty on count(s)
     after a plea of not guilty.
The organizational defendant is adjudicated guilty of these offenses:


Title & Section                     Nature of Offense                                                     Offense Ended               Count

8 U.S.C. § 1324a(2)                 Unlawful Employment of Aliens                                            08/11/2005                 1



        The defendant organization is sentenced as provided in pages 2 through                       3           of this judgment.


G The defendant organization has been found not guilty on count(s)
X    Count(s) One (1) of the Indictment in Case # 05-20044-002 is dismissed on the motion of the United States.


          It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change
of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material
changes in economic circumstances.

Defendant Organization’s
Federal Employer I.D. No.:   71-XXXXXXX                                         January 6, 2006
                                                                                Date of Imposition of Judgment
Defendant Organization’s Principal Business Address:

XXXXXXXXXXXX                                                                    /S/ Robert T. Dawson
                                                                                Signature of Judge
Van Buren, AR 72956
                                                                                Honorable Robert T. Dawson, United States District Judge
                                                                                Name and Title of Judge


                                                                                January 9, 2006
                                                                                Date
Defendant Organization’s Mailing Address:

Same as above
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 3 — Criminal Monetary Penalties
                                                                                                              Judgment — Page     2      of       3
DEFENDANT ORGANIZATION:     WHITE DAIRY ICE CREAM, INC. d/b/a TRI-TEMP DISTRIBUTION
CASE NUMBER:      2:05CR20082-001
                                               CRIMINAL MONETARY PENALTIES
    The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.

                      Assessment                                            Fine                                    Restitution
TOTALS            $ 50.00                                              $    1,000.00                             $ -0-


G The determination of restitution is deferred until                               . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed
    below.

    If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
    be paid before the United States is paid.

Name of Payee                                 Total Loss*                               Restitution Ordered                     Priority or Percentage




TOTALS                               $                                             $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
     before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
     be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for the              G fine        G restitution.
     G the interest requirement for the            G fine           G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
           Case 2:05-cr-20044-RTD                       Document 25                 Filed 01/10/06    Page 3 of 3 PageID #: 45
AO 245E    (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
           Sheet 4 — Schedule of Payments

                                                                                                           Judgment — Page    3     of       3
DEFENDANT ORGANIZATION:     WHITE DAIRY ICE CREAM, INC. d/b/a TRI-TEMP DISTRIBUTION
CASE NUMBER:  2:05CR20082-001

                                                        SCHEDULE OF PAYMENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X Lump sum payment of $               1,050.00                due immediately, balance due

          G not later than                                              , or
          G in accordance with G C or                   G D below; or
B    G Payment to begin immediately (may be combined with                       G C or    G D below); or
C    G Payment in                        (e.g., equal, weekly, monthly, quarterly) installments of $                    over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Special instructions regarding the payment of criminal monetary penalties:




All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
     corresponding payee, if appropriate.




G The defendant organization shall pay the cost of prosecution.
G The defendant organization shall pay the following court cost(s):
G The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
